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                     Exhibit 17
FWP 1 ea020502301-fwp_flyegroup.htm FREE WRITING PROSPECTUS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Case 1:25-cv-01405-LDH-RML                                                                                                                                                                                                                                                                                                                                                                                                                                                Document 1-17                                                                                                                                                                                                                                           Filed 03/12/25                                                                                                                                                                                                                           Page 2 of 2 PageID #:
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                                                   2 Cautionary Statement Concerning Forward - Looking Statements This document contains forward - looking statements. In addition, from time to time, we or our representatives may make forward - lo oking statements orally or in writing. We base these forward - looking statements on our expectations and projections about future events, which we derive from the information c urrently available to us. Such forward - looking statements relate to future events or our future performance, including: our financial performance and projections; our growt h i n revenue and earnings; and our business prospectus and opportunities. In some cases, you can identify forward - looking statements because they contain words such as “may ,” “should,” “expects,” “anticipates,” “contemplates,” “estimates,” “believes,” “plans,” “projected,” “predicts,” “potential,” or “hopes” or the negative of these o r s imilar terms. In evaluating these forward - looking statements, you should consider various factors, including our ability to obtain additional funding to market our vehicles an d d evelop new products; our ability to produce vehicles with sufficient volume and quality to satisfy customers; the ability of our principal vendors to deliver the necessary compon ent s for our vehicles at prices and volumes acceptable to us; our principal vendors’ ability to perform quality control on our products; our ability to obtain sufficient intellectual pro perty protection for our brand and technologies; our vehicles’ ability to perform as expected; our facing product warranty claims or product recalls; our facing adverse determina tio ns in significant product liability claims; customers’ acceptance of electric vehicles; the development of alternative technology that adversely affects our business; the lingering im pact of COVID - 19 on our business; increased government regulation of our industry; and tariffs and currency exchange rates. These and other factors may cause our actual res ults to differ materially from any forward - looking statement. Forward - looking statements are only predictions. The forward - looking events discussed in this document and other stat ements made from time to time by us or our representatives, may not occur, and actual events and results may differ materially and are subject to risks, uncertainties a nd assumptions about us. We are not obligated to publicly update or revise any forward - looking statement, whether as a result of uncertainties and assumptions, the forward - looking events discussed in this document and other statements made from time to time by us or our representatives might not occur.




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     [PLACEHOLDER] 5 Proposed Offering Fly - E Group, Inc. (the “Company”) Issuer: Initial Public Offering Transaction Type: 3,000,000 Number of Share Offered: $ 4.00 - $5.00 Price Range: $ 13,500,000 Mid - point Base Offering Size: 15% Over - Allotment Option: 22,000,000 Pre - Offering Shares of Common Stock : NASDAQ Capital Market: FLYE Exchange /Ticker: • New e - bike production, inventory • Retail store expansion • Technology, research & development efforts • General working capital Use of Proceeds: The Company, directors, officers, and certain shareholders (5% or more shareholders) have agreed with the underwriter, subject to certain exceptions, not to sell, transfer, or dispose of, directly or indirectly, any of our shares o f common stock or securities convertible into or exercisable or exchangeable for our shares of common stock for a period of 180 days after the date of the prospectus. Lock - up: The Benchmark Company Bookrunner:




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